Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.485 Page 1 of 41



                               UNITED STATES DISTRICT COURT
                           IN THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


DANIEL WILLIAM RUDD,
                                                      Case No. 1:18-cv-124
              Plaintiff,
                                                      Honorable Gordon J. Quist
v.                                                    U.S. District Court Judge

CITY OF NORTON SHORES, GARY NELUND,
MARK MEYERS, DANIEL SHAW, MATTHEW
RHYNDRESS, MICHAEL WASILEWSKI, JON
GALE, CHRIS MCINTIRE, MELISSA MEYERS,
MICHELLE MCLEAN, JOEL BAAR, DOUGLAS
HUGHES, BOLHOUSE, BAAR, & HOFSTEE PC.,
WILLIAMS HUGHES PLLC.

              Defendants.

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     PLAINTIFF’S BRIEF IN RESPONSE TO DEFENDANT’S DISPOSITIVE MOTIONS
                             (ECF Nos. 53, 58, 60)
            Daniel Rudd (Plaintiff, Pro Se)—10/16/18—Oral Arguments Requested
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.486 Page 2 of 41




                                     ii
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.487 Page 3 of 41




                                                  Table of Contents

Table of Contents ................................................................................................................. iii
SUMMARY OF ISSUES & ARGUMENT...................................................................................... 1
I.     First Amendment Claims against the City: ....................................................................... 2
a. In 2013, Plaintiff’s requests for police assistance and plaintiff’s reports of criminal
activity were protected conduct. ........................................................................................... 2
d. Plaintiff’s challenge to the ex parte PPO and his requests for exculpatory records from
the City were also protected activity. ..................................................................................... 9
e. The City’s participation in the Stalking/PPO litigation and spoliation of evidence
constituted adverse actions against Plaintiff. ....................................................................... 12
II.    Plaintiff’s Protected Conduct in 2015, also resulted in Adverse Actions by the City. ....... 13
a. The City’s unorthodox handling of Plaintiff’s 7/20/15 Citizen Complaint constitutes
adverse actions against Plaintiff. .......................................................................................... 16
b. Chief Gale’s continued disclosures constitute adverse acts which also demonstrate joint
action. ................................................................................................................................. 17
c.     The unauthorized LEIN entry against Plaintiff was an adverse act. ................................. 20
d.     The City’s 11/5/15 Cease & Desist Letter was an adverse act. ........................................ 24
III.   Statements made by the private party Defendants and the City Defendants establish
shared retaliatory motivations, common objectives, and joint participation. ........................ 27
a.     Allusions to the “Custody Proceedings” are unfounded pretext..................................... 27
b.     Def. Melissa Meyers was “reacting” to Plaintiff’s protected conduct. ............................ 29
c.     The Bolhouse Defendants were also reacting to protected conduct. .............................. 32
IV.       Shared Objectives – Symbiotic Relationship – Joint Conduct ...................................... 33
V.     State Law Claims .......................................................................................................... 35
a.     Abuse of Process .......................................................................................................... 36
b.     Intentional Infliction of Emotional Distress ................................................................... 38
c.     Malicous Prosecution ................................................................................................... 38
Conclusion:.......................................................................................................................... 38




                                                                    iii
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.488 Page 4 of 41




                          SUMMARY OF ISSUES & ARGUMENT

     All three of the dispositive briefs have either ignored or distorted the substance of material

factual allegations by Plaintiff. While it is true that Plaintiff’s initial complaint did not supply the

necessary level of detailed factual allegations to show that F/Lt. McIntire was aware of and

participated in a First Amendment violations 1, the same cannot be said of the remaining

Defendants. Plaintiff’s factual allegations adequately supply the basis for an inference of shared

retaliatory intent and joint action.

     Plaintiff’s original complaint sets forth a substantial number of factual allegations which

support the inference of joint activity between the City Defendants, Defendant Melissa Meyers

(Ms. Meyers) and the Bolhouse Defendants. However, as it pertains to direct acts of retaliation by

the City, Plaintiff need not establish a conspiracy. The City may independently be held liable for

using government resources and government influence to suppress the protected speech of a

private citizen. Although this Court’s 8/8/18 Opinion set forth a concise recitation of many of

those factual allegations, the City has simply failed to address them. Several of the alleged adverse

actions by the City Defendants (in 2013 and 2015), inherently convey a plausible connection to

the protected conduct which Plaintiff had (or was) engaged in. The City has failed to come forward

with alternative non-retaliatory explanations for these actions.

     The First Amendment Claims are at the heart of this lawsuit. The pending state law claims

largely relate to the conduct which was designed to punish and silence Plaintiff’s petitioning

activity.   Plaintiff has focused primarily on these claims and, requests the opportunity to file a

supplemental brief regarding the state law claims.

     NOTE: any citation comprised only of paragraph numbers, such as “(¶3)” or “(¶¶22-
     31)” should always be in reference to Plaintiff’s original complaint (ECF No. 1).



1Plaintiff has advised the remaining Defendants that he is diligently working on his amended complaint,
but that this work is delayed by the present dispositive motions). These briefs are very difficult to write.


                                                      1
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.489 Page 5 of 41



I.      First Amendment Claims against the City:

     For Plaintiff’s First Amendment Claims to proceed, Plaintiff’s factual allegations, taken as

true, must give rise to a plausible inference that: (1) Plaintiff engaged in constitutionally protected

conduct; (2) he suffered an adverse action that would deter a person of ordinary firmness from

continuing to engage in that conduct; and (3) the adverse action was motivated, at least in part, by

the plaintiff’s protected conduct.
     We start our analysis on this aspect of the retaliation claim from the premise that [a]n act
     taken in retaliation for the exercise of a constitutionally protected right is actionable under
     § 1983 even if the act, when taken for a different reason, would have been proper. We
     also note that proof of an official's retaliatory intent rarely will be supported by direct
     evidence of such intent. See McDonald v. Hall, 610 F.2d 16, 18 (1st Cir.1979) (reversing
     the district court's dismissal of the plaintiff's claim, holding that it will often be difficult
     to support a claim requiring a showing of the defendant's state of mind with direct
     evidence in a complaint). Accordingly, claims involving proof of a [defendant's] intent
     seldom lend themselves to summary disposition.

Bloch v. Ribar, 156 F.3d 673, 681-82 (6th Cir. 1998) (some internal quotes and cites omitted).

“When an allegation is capable of more than one inference, it must be construed in the plaintiff's

favor.” Id.

        a. In 2013, Plaintiff’s requests for police assistance and plaintiff’s
           reports of criminal activity were protected conduct.

     Plaintiff claims that he requested emergency assistance from the Norton Shores Police

Department (NSPD) on July 20, 2013—alleging a high-risk parental abduction. (ECF No. 1 at

PageID.5-6; ECF no. 1-1 at PageID.31-32.)           Rudd insisted that this was not a “custody and

parenting time dispute,” but a truly dangerous situation for the children. Rudd provided credible

evidence of severe risk factors involving domestic violence, assaultive criminal convictions,

substance abuse, and CPS substantiations (Id.).

     The following day, July 21, 2013, Rudd reported that the children were still missing and in

danger. Rudd asked that a missing person report would be entered in the LEIN database and

requested that officers would review evidence that Attorney Melissa Meyers was actually



                                                    2
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.490 Page 6 of 41




encouraging and assisting the mother in concealing the children (Id.). Rudd asked the officers to

review the extortionate text messages he was receiving because they appeared to be drafted by

Attorney Meyers. Rudd also informed officers that Melissa Meyers had a personal friendship with

the Noncustodial Mother who had previously brought Rudd’s children to spend time in the

Meyer’s home. Finally, “Rudd requested that an officer would speak to Attorney Meyers so that

she would effectuate the immediate return of my children instead of illegally supporting and

assisting her client in efforts to prolong the ordeal while trying to negotiate an agreement.”

(PageID.32 at ¶4). Officer Wasilewski advised that the NSPD would not even discuss the matter

with Melissa Meyers unless Plaintiff physically observed the Meyers residence and discovered

evidence that his children could be present there. Plaintiff agreed to do this while Officer

Wasilewski attempted to call the Noncustodial Mother’s cellular phone. Per Wasilewski’s

direction, Plaintiff located the Meyer’s home and parked his car a short distance down the street

while he awaited a return phone call from Officer Wasilewski (PageID.32 at ¶13). Plaintiff

remained in his car without disturbing anyone or even seeing anyone from the neighborhood.

There appears to be no dispute that plaintiff’s efforts to obtain police assistance constitutes

protected conduct. Plaintiff also alleges that was still engaged in constitutionally protected activity

while peacefully parked in the street near the Meyers’ residence because (1) he had a legitimate

purpose; (2) he was not in violation of any law or ordinance; (3) he was cooperating with the

directions of Officer Wasilewski in efforts to locate his missing children; and (4) Plaintiff’s was

gathering information necessary for continued assistance from Officer Wasilewski (¶36 at

PageID.8). It would have been clear to any law enforcement officer that all these actions were

reasonable under the circumstances and constitutional protected activities.




                                                  3
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.491 Page 7 of 41




        b. Adverse Actions Against Plaintiff on 7/21/13:

    Plaintiff allegations collectively support the inference that Wasilewski was already in

communication, or immediately communicated with Mark and/or Melissa Meyers regarding

Plaintiff’s allegations of criminal conduct. While Plaintiff waited for a return call from Officer

Wasilewski, a different plan was formulated. Upon the request of Mark Meyers and Chief Daniel

Shaw, Sgt. Rhyndress located Plaintiff’s vehicle, activated his flashers and briefly detained

Plaintiff there on the street (26-28).

    Sgt. Rhyndress advised Plaintiff that: (1) he was Wasilewski’s supervisor (2) Plaintiff would

not be hearing back from Wasilewski or receiving any assistances from the NSPD; (3) The NSPD

would not investigate anything; (4) Plaintiff had been issued a “trespass warning” and was ordered

to leave the area immediately; (5) Plaintiff would be arrested on site if he returned to the area.

    The arbitrary denial of police services, the refusal to investigate crimes involving domestic

violence, the refusal to enter a missing person report in the LEIN database, the issuance of a

trespass warning against Plaintiff (when no trespass had occurred), and the threat of an

unwarranted arrest were all adverse actions capable of chilling further petitioning activity. 2
    Because the "right `peaceably to assemble, and to petition the Government for a redress
    of grievances' is specifically protected by the First Amendment," Gregory, 394 U.S. at
    119, 89 S.Ct. 946 (Black, J., concurring), the espousal of views that are disagreeable to
    the majority of listeners may at times "necessitate police protection," Edwards, 372 U.S.
    at 237, 83 S.Ct. 680. "Liberty can only be exercised in a system of law which safeguards
    order." Cox, 379 U.S. at 574. It is "a police officer's ... duty ... to enforce laws already
    enacted and to make arrests... for conduct already made criminal." Gregory, 394 U.S. at
    120, 89 S.Ct. 946 (Black, J., concurring). 3

Bible Believers v. Wayne Cty., Mich., 805 F.3d 228, 246 (6th Cir. 2015) (en banc). Even if Sgt.

Rhyndress had believed that Plaintiff was creating a disturbance or public safety concern, Sgt.


2
  Although not a necessary element for a First Amendment claim, these actions did in fact chill
Plaintiff’s petitioning activity on 7/21/13 (¶29-30).
3 Gregory v. City of Chicago, 394 U.S. 111, 89 S.Ct. 946, 22 L.Ed.2d 134 (1969); Edwards v.

South Carolina, 372 U.S. 229, 83 S.Ct. 680, 9 L.Ed.2d 697 (1963);

                                                  4
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.492 Page 8 of 41




Rhyndress was still obligated to effectuate a solution which showed deference for Plaintiff’s right

to petition the government. For instance, Sgt. Rhyndress could have approached Plaintiff and

asked him to come down to department headquarters for the purpose of making a complete report.

If Sgt. Rhyndress, or anyone other NSPD officer had actual concerns that Plaintiff might pose a

safety risk, the department would have pursued options which would allow further scrutiny of

Plaintiff.

         c. The adverse acts reflect a shared objective to chill Plaintiff’s petitioning.

      On 7/21/13, Sgt. Rhyndress was the highest ranking decision-maker on duty. He advised

Plaintiff that further petitioning would be futile, issued an unwarranted “trespass warning”, and

threatened to arrest Plaintiff on site if he was seen in the area (¶28, at PageID.7). The acts

themselves clearly stand in direct opposition to the petitioning activity which Plaintiff was engaged

in. This sufficiently establishes a First Amendment Violation. However, Plaintiff has also alleged

a shared opposition to Plaintiff’s petitioning activity. While some of the City Defendants were

personally offended by allegations of criminal conduct against their friend/wife/lawyer,4 Melissa

Meyers (¶26b); All of the City Defendants were hostile toward Plaintiff’s persistence in requesting

police intervention (after being told “it was a civil matter.”).
       ¶26(a) Plaintiff had persistently asked the Norton Shores Police Department to uphold
       the law and to discharge their statutory duties. This persistence was perceived as a
       challenge to the department's policy or custom of "not getting involved" when a custodial
       parent accuses the other custodial parent of a crime.

Plaintiff has alleged that the actions of Sgt. Rhyndress where the result of an agreement between

Mark Meyers, Daniel Shaw, Melissa Meyers and Officer Wasilwewski—an agreement reached

via “back-channel” communications instead of the formal dispatch mechanisms. After Officer

Wasilewski advised Plaintiff to check the Meyers’ residence for signs of his children, Melissa and

Mark Meyers were informed of the allegations which Plaintiff had raised. Mark Meyers called


4   Melissa Meyers was also representing Sgt. Rhyndress in his own contentious divorce (¶7).

                                                   5
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.493 Page 9 of 41




Chief Shaw who called Sgt. Rhyndress. None of this was documented through the official

computer aided dispatch system. The result of these discussions was the intervention by Sgt.

Rhyndress, the complete denial of police services, an unwarranted “trespass warning” and threats

that Plaintiff would be arrested if seen in the area (¶27; see also ECF No. 1-1, at PageID.32-33).5

    In this case, the adverse actions which Plaintiff has alleged could not have occurred without

joint action. Mark Meyers, Melissa Meyers, Chief Shaw, Sgt. Rhyndress all knew that the

intervention by Rhyndress would deter Plaintiff from requesting any further assistance or

investigation (¶29 at PageID.7). The record of the state court proceedings clearly establishes that

all of City Defendants were offended by Plaintiff’s challenge to department practices and his

allegations that a well-connected local attorney was engaging in criminal activity. If a citizen is

explicitly advised that his petitioning activity is futile and threatened with arrest, the causal

connection is inherently expressed and nothing more is needed.

    Instead of addressing what Plaintiff has actually alleged regarding these events, the City sets

forth a very selective listing of paraphrased allegations which purports to be “the only actual facts

the plaintiff alleges against [the City].” This listing distorts several material factual allegations

and omits all mention of the risk factors to the children, domestic violence, and Plaintiff’s reports

that Melissa Meyers was engaged in criminal activity, and threats of arrest by Rhynress.6


5 The sequence of these communications is reasonably well established in the transcripts of the
state court proceedings, where each of these NSPD Defendants gave testimony.
6 City Brief (ECF No.61, at PageID.438): Once the conclusory assertions and subjective speculation are
discounted the only actual facts the plaintiff alleges against the Norton Shores defendants are these.
  -The Norton Shores City Manager, Mark Meyers, is married to Melissa Meyers, the attorney who
  represented the plaintiff’s ex-wife in the custody dispute.
  -Norton Shores Police Officer Michael Wasilewski had a personal relationship with Melissa Meyers.
  -Norton Shores Police Sergeant Matthew Rhyndress had a personal relationship with Melissa Meyers and
  Mark Meyers and was represented by Melissa Meyers in his own divorce proceedings.
  -In July 2013 plaintiff requested assistance from the Norton Shores Police Department to recover
  his children from their mother (his ex-wife) but his request was refused.
  -Wasileski and Rhyndress prepared police reports that contained false or inaccurate descriptions of
  plaintiff’s conduct.



                                                  6
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.494 Page 10 of 41




    It is disingenuous for the City to assert that these are the “only facts the plaintiff alleges against

the Norton Shores defendants only actual facts” while leaving out critical factual allegations which

are plainly acknowledged in this Court’s recent Opinion (ECF No. 50). It appears that all of the

City’s omissions and misrepresentations of factual allegations occur in circumstances where the

actual allegations would be most detrimental to the City’s arguments. Several pages later, the City

misleads this Court in a similar manner (emphasis added):
    Here, plaintiff offers nothing more than conclusions and opinions to claim there was a
    meeting of the minds among the alleged conspirators. All plaintiff has alleged is that a
    contentious custody dispute existed in which both parties went to the local law
    enforcement agency with complaints of criminal conduct.

(PageID.441) There simply was no dispute regarding the custody orders and no “other party” when

to the local law enforcement agency “with complaints of criminal conduct.” There is no official

record of anyone making any kind of complaint against Plaintiff. The City’s false narrative of a

“he-said/she-said” situation is incompatible with departments own records, and could be more

accurately characterized as the opposite of what Plaintiff has alleged. The mother would not

answer her phone for police—or anyone else (except Melissa Meyers).
    (¶19) Along with several other credible witnesses, plaintiff offered substantial
    evidence indicating that his children were in danger due to a volatile domestic violence
    situation between the children's mother and her third husband (whom she had just left).
    (¶20) Plaintiff, and members of the mother's immediate family expressed great
    concern that the mother had been behaving erratically for several days, had absconded
    with the children, and had hidden them away from plaintiff (their father) and all of
    her immediate family members.
    (¶21) NSPD ofﬁcers reviewed court orders regarding the mother's parenting time,
    conﬁrmed the recent assaultive criminal history of the stepfather, veriﬁed the CPS
    substantiations for abuse and neglect in the mother's home, and reviewed the language of
    MCL 750.350a, which designated the mother's actions a felony. All objective and
    veriﬁable sources of information demanded prompt action.
    (ECF No. 1-1, at PageID.31): The Norton Shores Police Department had absolutely no
    reason to doubt the truth of what I was saying.
    (ECF No. 1-1, at PageID.34): If Mr. Meyers—or anyone else- had offered some evidence
    to Chief Shaw which contradicted my allegations, then this evidence should have been
    appropriately documented per Department policy.



                                                   7
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.495 Page 11 of 41




There was not countervailing interests, disagreement over orders, or conflicting evidence. This is

what makes the City’s treatment of Plaintiff’s complaint so egregious. The City wishes to avoid

that inference by way of these fabricated “allegations.” Such an argument, if made in good faith,

might be more appropriate on a different legal standard. However, on a Rule 12(c) challenge, it is

especially egregious for the City to advise the Court that: (1) This is what Plaintiff has alleged;

and (2) This is ALL Plaintiff has alleged.

    The City’s brief (at PageID.429) opens by acknowledges that “The Court has set forth a

detailed recitation of the facts alleged in plaintiff’s Complaint.” The City has drawn quotes from

various other portions of the 8/18/18 Opinion and is therefore without excuse for discarding the

factual allegations identified by this Court regarding this portion of the Complaint:
    Rudd informed the NSPD that the situation was an abduction and not simply a “custody
    and parenting time dispute,” and indicated that the children’s stepfather had a history of
    assaultive behavior. Rudd reported that he had received text messages (presumably from
    his ex-wife) attempting to extort a more favorable custody agreement as a condition of
    returning the children. Rudd also reported that he believed that Melissa Meyers had
    assisted Rudd’s ex-wife in the abduction in order to obtain a more favorable custody
    agreement. In spite of Rudd’s pleas, NSPD personnel refused to take any action.

(8/8/18 Opinion, ECF No.50, at page 2, internal citations omitted). The City continues this

expression further:
    “The only thread that connects the defendants is the fact that Mark Meyers, the City
    Manager, is married to Melissa Meyers. That gossamer string will not bear the weight of
    plaintiff’s conspiracy theory.” (City Brief, at PageID.440).
    “…plaintiff offers nothing more than conclusions and opinions to claim there was a
    meeting of the minds among the alleged conspirators. All plaintiff has alleged is that a
    contentious custody dispute existed in which both parties went to the local law
    enforcement agency with complaints of criminal conduct. The coincidental fact is that
    the attorney for one of the parties was the spouse of the City Manager. (City Brief, at
    PageID.441).

These conclusory remarks are unfounded. Plaintiff has stated a great number of factual allegations

connecting the actions and intentions of various Defendants (while also showing shared retaliatory

motive).



                                                 8
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.496 Page 12 of 41



    While I was waiting to hear back from Ofﬁcer Wasilewski, City Manager Mark Meyers
    contacted the chief of Police directly to make requests of his own. From that point on,
    NSPD did not follow statutory requirements, department protocols, or internal procedure.
    …The Norton Shores Police Department had no reason whatsoever to ignore my request
    for help. But once the city manager Mark Meyers made a call to the police chief, the
    ofﬁcers began to treat me very differently. Instead of helping me ensure the safe return of
    my children, my efforts were hindered by the police.

(See ECF No. 1-1 at PageID.34). The record of testimony and evidence in the state court

proceedings will bear out these allegations more fully. The City has never come forward with a

plausible, non-retaliatory explanation for treating a legitimate emergency in this manner. The

communications between City officials immediately after Plaintiff requested an investigation of

Melissa Meyers are beyond dispute. Plaintiff has credibly alleged that Sgt. Rhyndress intervened

as a product of these communications. (¶25-30, at PageID.6-7). Plaintiff’s Complaint specifically

alleges a shared objective to prevent any investigations or litigation pertaining to “Melissa Meyer's

participation in her client's parental kidnapping, her assistance in drafting extortionate

messages…” (¶113 at PageID.25).         Accepted as true, these allegations sufficiently establish

plausible claims on the First Amendment Violations in July of 2013 and a running cover-up

conspiracy thereafter.

       d. Plaintiff’s challenge to the ex parte PPO and his requests for
          exculpatory records from the City were also protected activity.

    Plaintiff alleges (¶32 at PageID.7) that Melissa Meyers obtained an ex parte PPO by defrauding

the court with false allegations and material omissions. Plaintiff challenged these claims by

moving to terminate the ex parte Stalking/PPO7 and by requested exculpatory records from the

Norton Shores Police Department. Plaintiff sought these records to show that his conduct on had

been lawful, appropriate, reasonable, and constitutionally protected activity. Plaintiff’s efforts to


7
  In considering an ex parte application for stalking/ppo a Michigan judge must accept the claims
as true. However, the statute requires that a respondent be afforded the opportunity for a name-
clearing hearing before an unbiased decision-maker. The burden of proof is supposed to shifts to
the petitioner at this point. This is the process which Melissa Meyers and the City disrupted.

                                                 9
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.497 Page 13 of 41




clear his name in the state court proceedings (and his records requests from the City) were also

activities protected by the First Amendment. However, Melissa Meyers and the City Defendants

took issue with these activities as well. 8 More adverse actions ensued.

    Plaintiff alleges that Mark Meyers, Chief Shaw, Sgt. Rhyndress and Officer Wasilewski all

knew that Plaintiff’s petitioning activity reflected appropriate concern for the safety of children,

and that Plaintiff did not pose a threat or danger to anyone—but they worked together to portray

Plaintiff as a dangerous vigilante (¶¶33-34 at PageID.8; 107, 108, 115 at PageID.23-24; see also

ECF No. 1-1, ¶¶3-8, at PageID.33).

    By manipulating, altering, concealing, and/or destroying department records, the City made it

possible for a false narrative of an exigent public safety concern to emerge. Plaintiff alleges

incongruities between the documented actions of NSPD officers, and the narrative presented by

officers at the request of Mark and Melissa Meyers. These same incongruities provide context for

Plaintiff’s allegation regarding the improper LEIN disclosures authorized by Chief Shaw on

10/3/13. (E-mail attached as Declaration Exhibit A) Chief Shaw and Mark Meyers were working

on a legal strategy which could “portray plaintiff as a dangerous stalker.” (¶36) They both were

scheduled to testify on 10/8/13. Chief Shaw needed a believable (non-retaliatory) explanation for

why Rhyndress was sent to threaten Plaintiff instead of help Plaintiff.

    10/3/13 email to Mark Meyers and Officer Wasilewski (from Chief Daniel Shaw)
    Mark, I checked our CAD reports for the two responses to your home regarding Mr. Rudd.
    I see that Ofc. Wasilewski queried Mr. Rudd's vehicle thorugh LEIN, which automatically
    queries his record as well. Unfortunately, I can not see the results, so I do not know If the
    records indicate if he had a CPL or not. Sorry.
    Maybe Ofc. Wasilewski can respond if he recalls this information.
    Dan




8It is beyond question that Melissa Meyers perceived Plaintiff’s challenge to the PPO as an act
of pure harassment (having no legitimate purpose). See Exhibit D.

                                                   10
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.498 Page 14 of 41




If Chief Shaw could testify that Plaintiff had a concealed pistol permit, that might provide a more

plausible basis for Chief Shaw to be concerned by Plaintiff’s “behavior” instead of being

concerned that to children were in danger. However, Mark Meyers had no way to find out if

Plaintiff DID have a CPL (without revealing that the no one at the NSPD had cared one way or

the other back in July—which would have been the time for actual concern). This is why Mark

Meyers and Daniel Shaw wanted to know if Officer Wasilewski could (illegally) provide some

input on the matter—based on what Wasilewski remembered from running Plaintiff’s records.

    Presumably, Officer Wasilewski advised that this line of questioning shouldn’t be pursued

forcing Chief Gale to limit himself to vague, (but misleading) statements about what the safety

concerns were on July 20, 2013. To this issue, Plaintiff has alleged, that “The documented actions

of NSPD officers and demonstrates they had ZERO concern that Plaintiff posed any risk to

anyone.” (¶34.) If proven, Plaintiff’s allegations establish a calculated effort (by sworn law

enforcement officers) to defraud the court in a manner that undermines protections for the people

who really need personal protection orders.       There are numerous indicators in the state court

records, that NSPD officers and City officials were offended by Plaintiff’s continued requests for

assistance—after Plaintiff had been told “this is a civil matter.” The City’s recently filed brief also

emphasizes a belief that a law enforcement agency may afford a different standard of care to crime

reports if the department infers that “custody litigation” may have some tangential bearing on what

is being reported. Plaintiff has specifically alleged that this was the basis for adverse actions (¶26).

    The City has not presented a plausible alternative explanation for the denial of police services

in July of 2013, OR for deploying n extraordinary police presence in subsequent months—for legal

proceedings which actually were “a civil matter.”9


9
  Plaintiff’s 7/20/15 Citizen Complaint: “It is a telling contrast that the NSPD expended so much
effort to assist the City Manager when he asked for help regarding a car parked across the street
from his home - but so little effort to facilitate the safety of my children who were caught in the
middle of a dangerous domestic violence situation.” (¶7, at PageID.33).

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Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.499 Page 15 of 41



        e. The City’s participation in the Stalking/PPO litigation and
           spoliation of evidence constituted adverse actions against
           Plaintiff.

     As it pertains to Plaintiff’s First Amendment claims, Plaintiff does not have to establish that

the conduct of the City officials rose to the level of independently actionable constitutional

violations. "[A]n act taken in retaliation for the exercise of a constitutionally protected right is

actionable under § 1983 even if the act, when taken for a different reason, would have been proper."

Bloch v. Ribar, 156 F.3d 673, 682 (6th Cir.1998). If the City’s actions were motivated, even in

part, by Plaintiff’s petitioning activity, Plaintiff need only establish that the City’s adverse actions

would be capable of chilling a person’s resolve to continue their petitioning activity.
     In Bart v. Telford, 677 F.2d 622 (7th Cir.1982), for example, a city employee in the
     mayor's office ran in an election against the incumbent mayor. Upon the employee's
     return to the mayor's office after losing the election, her co-workers, including the mayor,
     began harassing her. She consequently brought a retaliation claim under § 1983. The
     employee alleged, among other things, that she was harassed for bringing a birthday cake
     to work on a co-worker's birthday, even though the office generally encouraged this type
     of behavior. While noting that many of the employee's claims of harassment seemed
     trivial, the Seventh Circuit observed that "[t]he effect on freedom of speech may be small,
     but since there is no justification for harassing people for exercising their constitutional
     rights it need not be great in order to be actionable." Id. at 625.

Bloch at 679-680.10 Also, citing to Bloch, this Court has held in Fritz v. Charter Township of

Comstock, 592 F.3d 718 (6th Cir. 2010), that adverse actions are more likely to be held actionable

where a government actor impugns the character of a private individual who as a result of

constitutionally protected activity. Id. at 727.

     The barrage of false inference and dilatory tactics overwhelmed and frustrated the state court,

causing the judge to terminate the proceedings before hearing all the evidence or closing arguments

(¶39).11 Although the judge would later deem this ruling to a be a determination on the merits (in

10 Bloch also cites to Barrett v. Harrington, 130 F.3d 246 (6th Cir.1997) (affirming a denial of
summary judgment on qualified immunity grounds when a judge retaliated against a “disgruntled
litigant” by attempting to embarrass him with claims that he was a “stalker”)
11 See also Paige v. Coyner, 614 F.3d 273, 281-82 (6th Cir. 2010) (holding state actor could be

liable for retaliation for making false statements to plaintiff’s employer causing her to be fired);

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Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.500 Page 16 of 41




Plaintiff’s favor), Plaintiff was still deprived of his right to a proper name-clearing hearing. In

addition to substantial reputational damage (before the same Judge making custody rulings), the

long-term adverse effects of an unjustified PPO could not be addressed through any adequate state

court remedy.12 If Plaintiff’s allegations are proven to be true, a jury could certainly find that any

one of these acts in isolation might cause a person to think twice before bringing a complaint to

the NSPD (especially it involved a well-connected individual). But the chilling effect must be

considered in the totality of circumstances.

II.      Plaintiff’s Protected Conduct in 2015, also resulted in Adverse
         Actions by the City.

      Plaintiff submitted an official written complaint in July of 2015 (7/20/15 Citizen

Complaint). At Chief Gale’s initiation, Plaintiff discussed the complaint in an hour-long

interview on 7/23/15 in Chief Gale’s office (¶53). Plaintiff fully relied on Chief Gale’s expressions

of sincere concern and empathy.
      Chief Gale thanked plaintiff for coming forward with these concerns and repeatedly
      emphasized his awareness that abusive litigation tactics in family court can be
      devastating. Chief Gale went out of his way relate that his own best friend had recently
      been made the target of scheme to obtain a fraudulent PPO against him for ulterior
      purposes. Chief Gale indicated that the PPO had been obtained through false testimony
      with devastating consequences for his friend. Chief Gale believed that his friend would
      probably lose "everything."
    Chief Gale assured plaintiff that he would conduct a fair and thorough investigation of
    any internal policy violations by NSPD ofﬁcers who were still employed by the city.
    Regarding the portions of plaintiffs complaint which alleged criminal acts (i.e.
    destruction/concealment of evidence, unauthorized disclosure of LEIN information for
    the PPO litigation, cover-ups, extortion, etc..) Chief Gale advised that these matters
    would need to be independently investigated by someone from the Michigan State Police
    who did not "know anybody" from the Norton Shores Police Department. Chief Gale
    offered to make these arrangements to ensure that it would be performed objectively.
(¶53(b)(d)(d), at PageID.13-14).


Sykes v. Anderson, 625 F.3d 294, 311-12 (6th Cir. 2010) (applying the cat’s paw theory of
liability to a First Amendment retaliation clame).
12 Most Stalking/PPO appeals are rendered moot because they expire before they can reach the

appellate court, See recently authored Michigan Supreme Court Opinion in Docket No. 155398.

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Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.501 Page 17 of 41




At Chief Gale’s suggestion, Plaintiff submitted FOIA requests to the City and engaged in two

lengthy phone interviews with F/Lt Chris McIntire of the Michigan State Police. When Plaintiff

started receiving new threats from Melissa Meyers, Plaintiff immediately forwarded these

messages to Chief Gale, expressing his concern that the retaliation was starting all over again

(¶¶59-68 at PageID.15-16). Unbeknownst to Plaintiff, Chief Gale had never been conducting an

investigation, but had been communicating and working closely with Mark and Melissa Meyers

the entire time (¶¶54, 55, 57, 67, 68). After realizing that he had been manipulated by Chief Gale,

and also finding out the that the City had proceeded to entered a Stalking/PPO entry into LEIN

(without a court order), Plaintiff sought declaratory/injunctive relief in the state court (¶79, ¶84).

    Each and every one of these (bolded) actions, which are described in this section, constitute

protected conduct. However, each and every one of these same actions would later be identified

in court filings by the Bolhouse Defendants—and described as the basis for finding Plaintiff in

criminal contempt (and in violation of the Stalking statute).

    In perfect synchronization with the City’s 11/5/17 “Cease and Desist Letter” Melissa Meyers

and the Bolhouse Defendants initiated criminal contempt proceedings and asked the state court to

issue around $5000 in fines and incarcerate Plaintiff for at least 30 days (felony charges likely to

follow a successful contempt ruling). Based on the overwhelming content of these filings, there

can be no doubt that the adverse actions orchestrated in November of 2015 were motivated, at least

in part, by Plaintiff’s petitioning activity.

    City Officials were simultaneously expressing their umbrage toward Plaintiff’s petitioning

activity through their actions and inactions (see next sections). When the subtle attempts at

suppression proved ineffective, the City adopted more direct methods. Ultimately, the City plainly

expressed their resolve to take “whatever action is legally necessary” in a Cease and Desist Letter

which directly addressed Plaintiff’s complaints against NSPD officers and City officials (¶88).




                                                 14
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.502 Page 18 of 41




   These are not isolated, disconnected, or off-handed remarks. The various Defendants

persistently expressed their profound animus toward Plaintiff’s criticisms of City officials and

police officers. Many of these statements include threats of adverse action against Plaintiff. The

temporal proximity speaks volumes throughout the course of these events. Just a few days after

Plaintiff met with Chief Gale, Ms. Meyers began communicating threats to have Plaintiff arrested

at Norton Shores soccer events (7/28/15 e-mail described at PageID.16):
    ¶66 The message repeatedly conveys that Melissa Meyers is primarily motivated by the
    fact that plaintiff had complained to the Norton Shores Police Department on 7/20/15:
          "Mr. Rudd has recently brought up issues from the past involving the events
          surrounding the issuance of my PPO against Mr. Rudd. He has made false,
          defamatory comments again about myself and my husband in a clear attempt to
          get my husband, the former police chief and Norton Shores Police Department
          into some sort trouble. In doing so he has renewed my concerns about his
          behavior and intent with regard to myself, my children and my husband."
    67) The message is clear: Plaintiff must drop his complaint with the NSPD or risk an
    arrest every time he brings his children to a soccer event in Norton Shores.
         "...I certainly do not want my family subjected to police involvement, however,
         if we do not ﬁgure out some sort of solution immediately, I am afraid that is
         exactly what will occur."

This e-mail (Declaration Exhibit B) provides one of the many links between Plaintiff’s protected

activity and adverse actions. The same message also supports the inference of joint activity. Ms.

Meyers demonstrates specific knowledge of Plaintiff’s complaint and conversations with Chief

Gale. This knowledge could only have come from Chief Gale, in violation of the City’s strict

policy of keeping Citizen Complaints confidential (¶55 at PageID.14; see also ECF No. 1-1 at

PageID.37-38). The 7/28/15 correspondence from Ms. Meyers further notes that “It has been

brought to my attention that the continuance of the PPO was not recorded on Lien (sic) due to the

fact that the proper form was never submitted to Judge Pittman.” This raises a plausible inference

that someone at the Norton Shores Police Department checked the LEIN database and informed

Melissa Meyers that her ex parte PPO against Plaintiff had expired on 2/1/14. Both of these

disclosures constitute clear violations of department policy.


                                                15
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.503 Page 19 of 41



       a. The City’s unorthodox handling of Plaintiff’s 7/20/15 Citizen
          Complaint constitutes adverse actions against Plaintiff.

   Plaintiff has alleged that Chief Gale put Mark Meyers, Melissa Meyers, and Daniel Shaw (all

civilians) on notice of Plaintiff’s allegations immediately after receiving Plaintiff’s complaint

(¶¶54-57 at PageID.14). This was before he had any opportunity to discuss the matter with

Plaintiff or investigate anything (¶54, ¶57) which “precluded any opportunity for a meaningful

investigation to occur.” (¶55.) Chief Gale’s departure from established department policy also

made it possible for Mark Meyers and Melissa Meyers to set their retaliatory schemes in motion

(¶57). On 7/23/15, Plaintiff met with Chief Gale. During the interview Plaintiff disclosed his fears

of retaliatory action by NSPD officers at soccer events. Plaintiff specifically described how

beneficial it had been for his children to play on their specific soccer team for the past several

years. Just a few days after this conversation, Mark and Melissa Meyers attempted to stage a sham

“PPO/violation” at a crowded beach soccer tournament where Plaintiff was coaching his

children’s’ team (¶¶57-60). Plaintiff’s children had been playing for the same team (and attending

this same tournament) for several years. The email from Melissa Meyers on 7/28/15 was the very

first hint of any problem.
    (¶58) Although plaintiff never saw Melissa Meyers or any of her family members at this
    crowded tournament and never had any credible reason to believe that Melissa Meyers
    was present, Melissa Meyers claimed that plaintiff’s presence at the tournament
    constituted deliberate "unconsented contact" and the basis for a fresh batch of hysterical
    allegations against plaintiff.

In the same email, Melissa Meyers began threatening adverse police action against Plaintiff at any

future soccer practice or game which occurred in Norton Shores. The threats were credible because

of what had occurred in 2013.
    (¶59) On 7/28/15, Melissa Meyers contacted plaintiff’s attorney and alleged a criminal
    violation of the PPO (which had expired approximately 18 months prior).
        "Upon seeing Mr. Rudd, Mr. Rudd was immediately informed of my presence
        and that of my family. However, rather than leaving in compliance with the
        PPO, Mr. Rudd chose to stay."



                                                16
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.504 Page 20 of 41



    (¶60) This claim was absolutely baseless in every way. Among other inconsistencies,
    Melissa Meyers has never provided any explanation for why she did not contact
    plaintiff’s lawyer before the tournament and work out a solution.
    (¶61) The e-mail conveyed that Melissa Meyers and her client intended to create a similar
    situation at any future soccer events where there "is even a remote possibility" of
    Attorney Meyers being present.
    (¶62) The e-mail to plaintiff’s attorney also emphasizes the possibility that Melissa
    Meyers may have to put plaintiff’s children "through the trauma of police interaction
    because Mr. Rudd is non-compliant with the PPO."
    (¶63) Melissa Meyers arranged for her client to also send plaintiff messages threatening
    Norton Shores Police action at the children's soccer events.



       b. Chief Gale’s continued disclosures constitute adverse acts which
          also demonstrate joint action.

   Based on Chief Gales representations during their 7/23/15 meeting, Plaintiff, naively assumed

that Chief Gale had been investigating the 7/20/15 Citizen complaint, and word of the investigation

must have been leaked back to Mark Meyers & Melissa Meyers. Plaintiff wanted Chief Gale to be

aware that similar plans to retaliate appeared to be in progress AND plaintiff hoped that Chief Gale

would take measures to prevent NSPD officers from showing up at a soccer practice to effectuate

the bidding of Melissa Meyers. Plaintiff’s 7/28/15 Messages to Chief Gale stated:
          I wanted to make you aware that Attorney Meyers launched a whole new
          set of allegations against me today. In a lengthy e-mail to my attorney, she
          specifically mentions the complaint which I brought to you.
          I also received an e-mail from my children's mother this morning which
          suggested that that I no longer attend my children's home games and that I
          find someone else to bring the children to practice. She stated very clearly
          that Attorney Meyers intends to call the police and request that I be arrested
          if she sees me at any of these soccer events. Much of what she claims is
          either false or presented in a misleading way. I hope you can understand
          some of the apprehension I have felt over the past several years.
          To be on the safe side, I have already made arrangements for someone else
          to bring my kids to practice this week. But I have been involved with
          coaching and volunteering with Sailor Soccer and Storm Soccer for many
          years. I have never missed one of my boys' games and I will be working
          hard to get some resolution on this soon.
          This is not the first time I have been the subject of these kind of false
          accusations from Attorney Meyers. I also, I am learning that I am by no

                                                 17
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.505 Page 21 of 41



            means the only person she has subjected to these type of tactics. The
            previous false accusations are well documented. I have nothing to hide
            and I am willing to make my life an open book to any police agency. 13

Chief Gale did not offer any assurances regarding these threats. However, the next day Chief Gale

sent an email with F/Lt. McIntire’s contact information, and a cursory notification that his

investigation was closed. “If you wish if you wish to pursue a complaint against the Norton Shores

city staff. Lt. McIntire is the region commander and will speak to you regarding any issue with

our city.” As to Plaintiff’s allegations of corruption, cover-ups, falsification of evidence and

retaliation, Chief Gale advised:
       I have reviewed police reports regarding your complaint and spoken with the officers
       involved. The police officers you requested to speak with will not be subject to
       questioning by you regarding this civil matter. They have written official police reports
       and have testified in court under oath. This civil matter is closed and will need to be
       handled in civil court if you wish.

The “closure” of Plaintiff’s complaint, without any substantial effort to either validate or refute the

serious allegations, was a jarring revelation for Plaintiff based on the representations Chief Gale

had made during their 7/23/15. Over time the next several days, Chief Gale’s silence regarding

Melissa Meyer’s threats of police involvement would confirm that her knowledge of Plaintiff’s

Complaint and communications was no accident. Plaintiff had naively provided Chief Gale with a

retaliation roadmap and Chief Gale was making sure that Mark and Melissa Meyers could make

good use of it. While Chief Gale never responded to Plaintiff’s 7/28/15 concerns regarding

renewed threats of retaliation, he did provide a copy of it to Melissa Meyers (¶¶68-69 at PageId.16):
       ¶68) Plaintiff reported this extortion attempt to Chief Gale. Chief Gale relayed that
       information to Melissa Meyers.
       ¶69) On 7/30/15, Melissa Meyers responded with another message to Plaintiff’s attorney
       regarding Plaintiff’s failure to comply with her demands. This message also concludes
       with an ominous threat: "Additionally, I will be taking any/all necessary steps to
       ensure Mr. Rudd's compliance"




13   Full messages is attached as Exhibit XX

                                                  18
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.506 Page 22 of 41




    Initially, Chief Gale had gone to great lengths in his efforts to earn Plaintiff’s trust with sincere

expressions of empathy and concern (¶53b). However, by 7/29/15, City officials had discussed

the matter at length and decided to silence Plaintiff through the Stalking/PPO litigation (¶¶114,

115, 122, 124). At this point there was no longer any need to maintain the pretense that Chief Gale

was investigating Plaintiff’s concerns. From 7/29/15 forward, City officials wanted Plaintiff to

realize that he had been manipulated during the 7/23/15 interview in Chief Gale’s office. They

wanted Plaintiff to realize that the “planned ambush” at the soccer tournament could only have

been accomplished with Chief Gale’s assistance (in violation of a strict confidentiality policy).

Theu wanted Plaintiff to realize that Melissa Meyers could make extortionate threats because the

City would indemnify her. These realizations were intended to deter Plaintiff from taking his

complaints any further.    City official knew: Once Plaintiff came to realize that he had been

manipulated by Chief Gale’s from the beginning—the arbitrary handling of Plaintiff’s Citizen

Complaint itself would cause Plaintiff to        think twice before seeking help from any other

government agency.

    This analysis does not require speculation or conjecture. According to Chief Gale’s sworn

affidavit (attached to Plaintiff’s complaint (PageID.37-38), the policy of keeping Citizen

Complaints confidential is based on the Chief Gale’s understanding that to do otherwise would

chill petitioning activity. According to the City, every other Citizen Complaint has been subject

to the policy and kept under lock and key in the Chief’s office. This policy covers the complaint

itself, and extends to all records associated with that investigation. The City has not offered any

explanation of why this policy would not apply (more than ever) to citizen complaint which alleged

constitutional violations, a cover-up and retaliation. However, in this one instance, Chief Gale

promptly disclosed the Complaint itself, all subsequent communications, and even the recording

of Chief Gale’s interview with Plaintiff to the individuals who had been accused of retaliating.

Chief Gale knew or should have known that the information would trigger further retaliation. He


                                                  19
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.507 Page 23 of 41




absolutely did know this was occurring by 7/28/15 at the lastest (¶¶74,75). It is difficult to imagine

a more chilling way to handle the citizen complaint process, than what occurred here. Based on

the statements made by Chief Gale himself, it is difficult to imagine that this was not the intent.

c. The unauthorized LEIN entry against Plaintiff was an adverse act.

   In order to provide expedient protection to vulnerable individuals, Michigan has a mechanism

which allows law enforcement officers to confirm the existence fo an active Stalking/PPO in the

LEIN database and effectuate an immediate warrantless arrest on a respondent who is reported to

be in violation. To ensures the safety of arresting officers and prevent unwarranted arrests, there

are strict safeguards which regulate the entry of these orders into the LEIN database. The order

must be signed by the Judge and must clearly state what type of behaviors are enjoined and how

long the injunction will last (expiration date). LEIN entry is absolutely prohibited if any of these

elements are missing from a document which purports to be a restraining order.

   Chief Gale was fully aware that the ex parte PPO obtained by Melissa Meyers in July of 2013

had expired on February 1, 2014 (¶64). At the very latest, Chief Gale became aware that Melissa

Meyers was attempting to obtain a court order authorizing LEIN entry on 7/28/15 when he received

a copy of the message Ms. Meyers had sent (forwarded by Plaintiff).

   Plaintiff’s Complaint alleges that the state court never ordered or even contemplated an

extension of the 6-month ex parte PPO Melissa Meyers had obtained from the judge on duty.

Instead, Judge Pittman ruled that he would allow it to continue for a brief period of time (as a

prophylactic measure) and then terminate it early (¶39). This ruling is re-emphasized in a

subsequent hearing as described in Plaintiff’s complaint (¶¶42-43 at PageID.10).




                                                 20
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.508 Page 24 of 41



     (¶42) In January of 2014, Melissa Meyers sued plaintiff for costs/sanctions, claiming that
     plaintiff had offered perjured testimony and moved to terminate the PPO for the sole
     purpose of harassing Melissa Meyers. This also was completely frivolous.
     (¶43) The court rejected these claims (1/23/14) and found in plaintiff’s favor:
         THE COURT: Well, I think by virtue of the decision that this Court reached, and
         whether you agree or not, that's certainly your prerogative, but by virtue of simply
         the idea that the term of the order was modiﬁed indicates that there was some
         arguable merit. That I made a decision based upon that merit to shorten the term
         of the PPO's existence... Mr. Rudd did receive some relief as he was seeking here.
         There was a modiﬁcation. Of course you have the right to disagree that I was
         correct in ﬁnding that merit, but I have not heard that argument."

The 12/17/13 written order is admittedly ambiguous when read in isolation from the statutory

requirements that govern issuance, continuation, extension and termination of Personal Protection

Orders under Michigan law. Any ambiguity is also easily resolved by a review of the transcripts

which contain the rulings made by the state court. The claim that this interlocutory order constitutes

an indefinite extension of an ex parte PPO14 is completely false, utterly incompatible the record of

the state court proceedings (and statutory requirements) (Declaration Exhibit C)

     The state court filings in August of 2015, also establish that Melissa Meyer and the Bolhouse

Defendants knew that the interlocutory order, entered on 12/17/2013, did not authorize any police

department to make an entry (or modify an entry) in the LEIN Database. Ms. McLean establishes

this beyond dispute in her state court filings. Although her 7/31/15 “Motion For Nunc Pro Tunc

Order To Bring Personal Protection Order Into Compliance With MCR 3.706” is egregiously

misleading in many respects, it does correctly acknowledge that the 12/17/13 Interlocutory Order

does not contain “the information necessary pursuant to MCR 3.706” and “is not in an approved

form accepted for Placement on LEIN as required by 3.706.” It is reasonable to infer that Ms.

Meyers and Ms. Mclean had already asked Chief Gale to enter a Stalking/PPO against Plaintiff

based on this order. Any police officer who had been trained on LEIN policy would know agree

14
  Both Ms. Meyers and the Bolhouse Defendants assert this verifiably false claim in their
respective briefs (PageID.402; PageID.360): “Plaintiff subsequently moved to have the Personal
Protection Order set aside or terminated. Rather than terminate the Personal Protection Order,
Judge Pittman extended it indeﬁnitely.”

                                                 21
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.509 Page 25 of 41




with the Ms. McLean’s 7/31/15 position that the 12/17/13 Order could not authorize a LEIN entry.

The only thing that changed was the City’s willingness to bend the rules:
    (¶76) Chief Gale, Attorney McLean, Attorney Meyers, and the NSPD LEIN operator
    where all fully aware of the statutory requirements for entering a stalking/ppo record into
    the LEIN database. That is why defendants Mclean and Meyers submitted a petition to
    Judge Pittman asking for such an order to be entered.
    (¶77) Both of Michelle McLean's motions provided a proposed order which included the
    required components. They requested that Judge Pittman would immediately enter the
    order because this was the only way that such an entry could be permitted.
    (¶78) However, the department decided to bypass this due process protection shorlty after
    plaintiff submitted a FOIA request to the Norton Shores Police Department seeking
    documents which pertained to his 7/20/15 complaint. (8/25/15)
    (¶79) A few days later (8/28/15), the Norton Shore Police Department decided to enter
    the stalking/PPO record into the LEIN database without a valid court order.

   The City’s unauthorized modified the LEIN database was effectively no different than forging

an arrest warrant and entering into LEIN. All the Defendants knew that an authorizing order had

been requested (twice) and the state court Judge had declined to sign it. Accepted Plaintiff’s

allegations as true, this act constitutes an independent constitutional violation. However, under the

First Amendment framework—and in light of the totality of circumstances, the City’s action easily

qualifies as an adverse action. The City attempts to gloss over this act by presenting a misleading

paraphrase of what Plaintiff has alleged in his complaint (ECF No.61, PageID.439):
    •   Following the meeting Chief Gale provided a copy of plaintiff’s written complaint
        to Mark Meyers, Melissa Meyers and Dan Shaw.
    •   Attorney Michelle McLean obtained a PPO against plaintiff on behalf of
        Melissa Meyers.
    •   The Norton Shores Police Department entered the PPO into the LEIN.
    •   On November 5, 2015 the City Attorney sent plaintiff an e-mail expressing
        concern about plaintiff’s behavior toward Mark Meyers and stating “we will take
        whatever action is legally necessary to protect the professional and privacy rights
        of Mr. Meyers.”…




                                                 22
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.510 Page 26 of 41




This is serious misrepresentation of Plaintiff’s pleadings which impacts an issue at the center of

the controversy.15 In purely unchoreographed fashion, Ms. Meyers and the Bolhouse Defendants

offer a variation of the same subterfuge. However, neither of these defendants have offered

anything to overcome the barrier which Plaintiff identified in his original complaint (¶76). The

Bolhouse Defendants knew on 7/31/15 that the 12/17/13 order did not meet the criteria set forth in

MCR 3.706. Otherwise, they would not have made two requests for a new order. No one has

explained what changed between 7/31/15 and 8/28/15 when suddenly the 12/17/13 order DID meet

the criteria for LEIN entry.

     Based on the sequence of events, and the flow of information between the City and Ms.

Meyers, it can be reasonably inferred that Chief Gale originally refused to modify the LEIN

database based on the 12/17/13 Interlocutory Order. However, as it became clear that the state

court was unlikely to issue the order proposed by Ms. McLean’s order, and as Plaintiff persisted

in his protected conduct (including FOIA requests, ¶78), Chief Gale changed his position.

Michelle McLean the unilaterally cancelled the state court hearing which had been set on the

matter to ensure there would be no judicial review. 16

The City officials, Melissa Meyers, and the Bolhouse Defendants all knew that Plaintiff would

receive notice that of the entry by the Michigan State Police (see ¶81) and knew that this would

escalate the fears of retaliatory police action which Plaintiff had described to Chief Gale on

7/20/15, 7/23/2015, and 7/28/2015.

15 Plaintiff immediately notified counsel of the error by e-mail and mailed a draft of a Rule 11
motion (9/21/18). Counsel for the City declined to remedy the matter.
16 Plaintiff respectfully offers a clarification regarding this Court’s assumption regarding the

cancellation of this hearing (8/8/18 Opinion, pg. 5, ECF No. 50): While it is understandable for
this court assume that “Meyers thereafter contacted Rudd’s attorney and requested that the
hearing regarding the PPO be cancelled because Meyers was withdrawing her request. Rudd
apparently agreed to do so…” It is standard practice in this particular state court to immediately
remove a hearing from the docket if the moving party withdraws their motion (even if the other
party has raised their own issues in response). In this case, the hearing was removed from the
docket before Plaintiff’s attorney was given notice.

                                                23
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.511 Page 27 of 41




   The temporal proximity of these events, in the context of statements made by Ms. Meyers and

the Bolhouse Defendants, creates a strong inference that the unauthorized LEIN entry against

Plaintiff was motivated, at least in part by Plaintiff’s petitioning activity—and by a joint agreement

between the private parties and the City officials. If there had formerly been any doubt, it was

now clear that the threats of police action against Plaintiff—although made by a private actor

(Melissa Meyers)—were fully cloaked in the power of governmental authority.                Plaintiff’s

allegations, taken as true, foreclose the possibility that this was a good-faith mistake which

happened to evade supervisory review.
    (¶82) Plaintiff immediately contacted the Norton Shores Police Department advising that
    the 14th Circuit Court had certainly not authorized the entry of such an order in spite of
    numerous requests. Plaintiff explained the circumstances and was assured that these
    concerns would be immediately reviewed by Chief Gale. (¶83) Chief Gale did not take
    any corrective action.

Importantly, the City maintained the improper LEIN entry for approximately six months until they

were served with a court order directing them to remove the entry (¶105). During that period of

time, the City would have had numerous opportunities to remedy this error. If proven true, the

City’s actions amount to an inexcusable and malicious abuse of governmental power. Unless the

City can come forward with a plausible (and verifiable) explanation, this may be an issue which

warrants judgement on the pleadings in Plaintiff’s favor.

d. The City’s 11/5/15 Cease & Desist Letter was an adverse act.

     On 10/20/2015, plaintiff ﬁled a motion in the circuit court seeking a declaratory ruling

regarding the unauthorized entry of a Stalking/PPO record in the LEIN database and the

corresponding false allegations harassment/stalking/PPO violations (¶84, PageID.19; see also Dec.

Exhibit C). Plaintiff could no longer afford representation at this point, but had been advised by

his attorneys to prioritize removal of the unauthorized LEIN entry before pursuing any other legal

remedies. Once again, Plaintiff’s petitioning activity was offensive to City officials and the private




                                                 24
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.512 Page 28 of 41




party Defendants. Shortly thereafter, and in perfect synchronization, the Bolhouse Defendants

initiated the prosecution of criminal contempt proceedings and City Attorney Doug Hughes sent a

letter to Plaintiff.


     ¶88) Plaintiff received Judge Pittman’s order [authorizing] criminal contempt proceedings on
     11/5/15. On the same day, Attorney Douglas Hughes and his staff began sending plaintiff
     numerous copies of a threatening letter (emphasis added):
     RE: Mark Meyers
     Dear Mr. Rudd
     This office represents the City of Norton Shores. Their Mayor has asked us to monitor your
     conduct and behavior as it relates to the employment of Mark Meyers as the City
     Administrator for the City of Norton Shores.
     We have information that leads us to believe that you have made serious defamatory and
     disparaging remarks about Mr. Meyers, as well as other members of the Norton Shores Police
     Department.
     Please treat this letter as notice to you that we will take whatever action is legally
     necessary to protect the professional and privacy rights of Mr. Meyers.
     You are to cease and desist from any further contact or conversation with him.
     Also be mindful that the statements you make to others about Mr. Meyers. [sic]
     If you have had hired legal counsel, please make a copy of this letter and give it to that
     individual and instruct him to contact me.
     Sincerely, Douglas M. Hughes, City Attorney for the City of Norton Shores

(PageID.19-22) Plaintiff’s complaint alleges that this letter fit within a calculated plan to silence

Planitiff’s petitioning activity through a coordinated sequence of actions: (1) 11/4/15 The

Bolhouse Defendants initiate criminal contempt proceedings against Plaintiff (¶¶86-87);

(2) 11/5/15 Plaintiff receives choreographed correspondence from the City, placing him on notice

that the full force of governmental resources and influence will support the efforts to have him

incarcerated for at least 30 days. 17 (¶¶88-91); (3) 11/9/15 Attorneys Baar and McLean step in with

last minute threats of incarceration and an offer to defer contempt charges abeyance if Plaintiff

agrees to drop all complaints against the City, Mark Meyers, and Melissa Meyers. (¶¶93-100).



17The contempt filings are very obviously drafted to establish the basis for a felony “Aggravated Stalking”
conviction (a charge which frequently follows a criminal contempt finding on a Stalking/PPO).


                                                      25
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.513 Page 29 of 41




       If all else failed, the City officials and Bolhouse Defendants planned to make sure Plaintiff

could not be heard regarding the unauthorized LEIN entry or other declaratory relief. The inference

of joint action here is unavoidable. The common animus toward Plaintiff’s petitioning activity is

plainly stated in the letter sent by Doug Hughes and the contempt filings authored by the Bolhouse

Defendants:

         11/5/15 Letter From the City                       11/4/15 Bolhouse Def. Contempt Filings
    Dear Mr. Rudd, This office represents the City      Respondents interference with Petitioner's husband's
    of Norton Shores. Their Mayor has asked us to      employment and defamatory, disparaging and slanderous
    monitor your conduct and behavior as it relates   comments about Petitioner and her husband, City Manager,
     to the employment of Mark Meyers as the            Mark Meyers to the Police Chief on July 23, 2015 is a
       City Administrator for the City of Norton                   violation of Petitioner's PPO.
                       Shores.
     We have information that leads us to believe     On 7/20/15 Respondent begin anew his pattern of harassment of
     that you have made serious defamatory and        Petitioner and her family by filing a frivolous complaint with the
     disparaging remarks about Mr. Meyers as          Norton Shores Police Chief alleging criminal, unethical and civil
                                                      violations perpetrated by by the Norton Shores City Manager and
    well as other members of the Norton Shores
                                                      Petitioner's husband, Mark Meyers, Police Chief, Dan Shaw, Sargent
                 Police Department.                   Matt Rhyndress, and Ofﬁcer Wasilewski.
                                                                   …Respondent remains undeterred
         Also be mindful that the statements                    by these two respected [agency] findings
        you make to others about Mr. Meyers.             and continues his investigative harassment still to date
    Please treat this letter as notice to you that     Respondents pattern of continued unconsented contacts and
 we will take whatever action is legally necessary      harassment must be stopped. It is clear from Respondents
            to protect the professional                  actions that Respondent will only respond to this Courts
        and privacy rights of Mr. Meyers.                                   contempt powers.

                                                          Respondent must further be enjoined from writing,
    You are to cease and desist from any further      communicating slanderous, defamatory, libelous, disparaging
        contact or conversation with him.             comments and statements about Petitioner and any member of
                                                                    her family to other individuals

*




                                                          26
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.514 Page 30 of 41



III.     Statements made by the private party Defendants and the City
         Defendants establish shared retaliatory motivations, common
         objectives, and joint participation.

     All three of the Defendant’s dispositive briefs deny any connection between the criminal

contempt proceedings and Plaintiff’s petitioning activity. All three also assert that Plaintiff has

failed to plead facts which support the inference of joint action.

 a. Allusions to the “Custody Proceedings” are unfounded pretext.

 The City claims (emphasis added):
       Simply put, while the plaintiff’s Complaint is littered with a plethora of speculation,
       innuendo and subjective musings, nowhere is there a single factual allegation showing
       the defendants agreed to “a single plan” to retaliate against plaintiff or that the
       defendants “shared the same general conspiratorial objective.” In spite of the fact that
       this entire litigation arises from a state court child custody dispute, plaintiff completely
       disregards that as the basis for his interactions with Attorneys Meyers, McLain and Baar.
       Instead, plaintiff attributes “a single plan” to these attorneys and the Norton Shores
       defendants to retaliate against him for exercising his First Amendment rights. The hubris
       this exhibits is stunning.

     But the City does not explain how Plaintiff’s “interactions” with these attorneys could possibly

have any relation to Plaintiff’s custody proceedings. There is no portion of the voluminous

contempt filings which supports this premise. Shortly after the first criminal contempt hearing,

the Noncustodial Mother asked the Ms. Meyers and Ms. McLean to withdraw from the custody

proceedings at the request of the client. 18 Ms. Meyers and the Bolhouse Defendants do not identify

any specific custody related motivation for their actions. They generally claim that all actions

taken against Plaintiff were lawful and necessary because Plaitniff was an “obsessive” and “eratic”

opposing party who had grown “disgruntled” by adverse custody rulings. These descriptions of

Plaintiff are repeated like a mantra without any factual support (See PageID.400 at ¶3):
       “Plaintiff’s allegations are more congruent with a disgruntled respondent and/or party in
       a pending family law matter who is unhappy with the ﬁndings and holdings of the
       presiding court.”

18When the court appointed therapists became aware of the attempt to have Plaintiff arrested at
the soccer tournament they urged the Noncustodial Mother to find new counsel.

                                                   27
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.515 Page 31 of 41




    Plaintiff has alleged that the family court rulings overwhelmingly favored Plaintiff (¶¶2, 43-

49). Although the Stalking/PPO proceedings were adjourned before the full presentation of

evidence (¶39), Plaintiff also received a favorable modification of the PPO, based on the merits of

his motion to terminate (¶¶42-43). At this stage Plaintiff’s factual allegations must be accepted as

true, however Plaintiff has also cited specific rulings from the record of the state court proceedings.

Defendants have not presented anything from the record which persuasively refutes these claims.

Ms. Meyers spent several years attempting to persuade the family court judge to accept a narrative

similar to what is presented now (¶4). Ms. Meyers “hand-picked” a reputable custody evaluator

and successfully urged the judge to order an exhaustive six-month evaluation—which included

extensive psychological testing and collateral contacts (¶45). This was one of many evaluations

by objective experts which occurred as part of the custody proceedings. All of these experts

consistently made findings which were favorable to Plaintiff. It is not often that a petition to modify

a 50/50 joint custody arrangement results in an award of sole legal and sole physical custody to

the father (¶49). Protracted custody litigation tends to expose whatever “dirt” can be dug up

regarding an litigant’s character and honesty. Plaintiff was examined under oath by Ms. Meyers

and Ms. McLean several times and also subjected to invasive discovery requests. There are more

than a thousand pages of transcripts alone in the custody proceedings and a substantially larger

number of documents and records disclosed through the state court litigation. The Defendants

have access to all of this yet have not come forward with anything to contradict Plaintiff’s claim:
    “The record of those proceedings unequivocally demonstrates that plaintiff has acted in
    good faith and for the beneﬁt of his children at all times. No evidentiary ﬁndings suggest
    otherwise.” (¶2)

All three Defendants rely heavily on the fact that Plaintiff was involved in custody proceedings,

but none of the Defendants explain why those circumstances justify any of the acts or omissions

which are alleged in this suit.




                                                  28
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.516 Page 32 of 41




     If the custody proceedings did have any bearing on the issues raised in this lawsuit, it would

only be to underscore the severity of the Defendant’s misconduct—because: (1) The Defendant’s

intentionally sought out an opportunity to injure Plaintiff in a forum where reputational damage

would inflict a greater injury upon Plaintiff; 19 and (2) All of the Defendants had access and

opportunity to review an extensive body of objective professional findings which unequivocally

established Plaintiff’s credibility and good-faith. None of the Defendants have identified evidence

from the state court proceedings which would tend to support the suggestion that Plaintiff ever

has, or ever would, engage in any form of harassing conduct.

     There is absolutely no basis to support the idea that Plaintiff engaged in petitioning activity

because he was disgruntled by (favorable) family court rulings. However, even if that were the

case, Plaintiff’s motivation for engaging in protected conduct is not the question. At this stage in

the pleadings, Plaintiff must only establish a basis for the inference that his Defendants were

motivated, at least in part, by Plaintiff’s petitioning activity.

 b. Def. Melissa Meyers was “reacting” to Plaintiff’s protected conduct.

     Ms. Meyers and the Bolhouse Defendants appear to argue that some of Plaintiff’s activities

were acts of harassment and not protected conduct. The present briefs suggests “by way of

background” a narrative which contradicts the facts alleged by Plaintiff (emphasis added).
     …Plaintiff engaged in a series of disturbing behaviors that ultimately ended with his
     unannounced appearance and refusal to leave Defendant Melissa Meyers home during a
     contentious on-going custody battle wherein Defendant Melissa Meyers represented
     plaintiff’s ex-wife in Muskegon County Circuit Court, the Honorable Gregory C. Pittman
     presiding.

(PageID.402.) If Plaintiff had actually come onto the Meyers’ property and refused to leave, this

could raise a factual dispute regarding whether or not this particular activity was constitutionally


19
   Plaintiff alleges that the Staling/PPO litigation “was inexplicably reassigned to Judge Pittman,
a long-time resident of Norton Shores who was also presiding over plaintiffs custody
proceedings.”

                                                   29
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.517 Page 33 of 41




protected conduct. However, Plaintiff has alleged a very different set of facts. At this point in the

proceedings it is Plaintiff’s facts which must be accepted as true. Arguably, the Defendants could

come forward with court records from the Stalking/PPO proceedings to establish a different set of

facts beyond dispute. There was ample opportunity for Ms. Meyers to demonstrate that Plaintiff

had no legitimate purpose, that he appeared at her home “unannounced” and “refused to leave.”

However, this was certainly not established. 20

     Defendant Meyers allusions to the “incident at the soccer game” (PageID.402 at ¶2) cannot

amount to anything more than the attempt to raise a factual dispute. Plaintiff has alleged that there

was no incident at the beach tournament, that he never saw anyone from the Meyers family and

had no way of knowing where they might be on the crowded beach (¶58). Importantly, Ms.

McLean did not even attempt to raise this issue during the 11/9/15 hearing when the state court

judge repeatedly asked her to provide some legitimate basis contempt proceedings she had

initiated. (See Declaration Exhibit D). Both the temporal proximity, the specific statements made

by Ms. Meyers in her 7/28/15 email, and the subsequent state court filings, establish a strong

inference that Plaintiff’s complaints to Chief Gale were the primary concern. While all the

Defendants have attempted to utilize conduct-oriented language, the emphasis of concern is clearly

the content of Plaintiff’s complaints.



     November 4, 2015 Bolhouse Defendant’s Brief in the Stalking/PPO proceedings:
     Respondent's conduct in initiating and continuing a frivolous investigation while intentionally
     including knowingly false disparaging, defamatory and irrelevant comments about Petitioner
     and her husband on July 20 through this date, is a violation of Petitioner's PPO.
     (this is just one example).


20Testimony from Plaintiff, Mark Meyers, Melissa Meyers, Rachel Terpstra, and Officer
Rhyndress tends to support Plaintiff’s claim that he remained in his car, across the street from the
Meyers residence—never going on their property at all. It is uncontested that this was not
unannounced. Plaintiff testified that Officer Wasilewski required this action as a prerequisite to
investigating the matter.

                                                    30
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.518 Page 34 of 41



    Email From Ms. Meyers to Plaintiff’s Counsel on 7/28/15:
    I just wanted to send you a email to try and immediately resolve disturbing behaviors of Mr.
    Rudd that have recently come to be, without the necessity of police or court involvement.
    …I want to be perfectly clear, I want no interaction with Mr. Rudd outside of my
    responsibilities to my client, nor does my husband who Mr. Rudd now has dragged into his
    domestic affairs again for no justifiable reason. I certainly do NOT want my children around
    Mr. Rudd, nor do I want to put my children or the Rudd boys through the trauma of police
    interaction because Mr. Rudd is non-complaint with the PPO. I am concerned with Mr.
    Rudd’s actions for the following reasons:
    .. 3. Mr. Rudd has recently brought up issues from the past involving the events surrounding the
    issuance of my PPO against Mr. Rudd. He has made false, defamatory comments again about
    myself and my husband in a clear attempt to get my husband, the former police chief and
    Norton Shores Police Department into some sort trouble. In doing so he has renewed my
    concerns about his behavior and intent with regard to myself, my children and my husband.

   In her present brief, Ms. Meyers appears to accept the 7/20/15 Citizen Complaint as “The only

plausible protected conduct alleged…” (See ¶4 at PageID.400). In discussing the second prong of

the First Amendment inquiry, Ms. Meyers concedes that her actions “in a vacuum and taken from

the perspective of a disgruntled respondent, could constitute an adverse action.” Notably, in

discussing the “allegedly adverse actions” Ms. Meyers describes those acts as being a “reaction”

or “response” to “what can only be construed as defamatory statements” in Plaintiff’s complaint

to Chief Gale. (See PageID.401 at ¶2, emphasis added):
    Plaintiff attempts to set forth the allegedly adverse action taken by Defendant Melissa
    Meyer in reaction to Plaintiffs complaint to Chief Gale, as communicating with Plaintiffs
    attorney; and ﬁling a motion to enforce the PPO previously obtained by Defendant
    Melissa Meyers against Plaintiff who admittedly had unconsented contact prior to
    termination of the PPO on February 4, 2016 and who admittedly included in his July 20,
    2015 complaint to the Chief Gale, what can only be construed as defamatory statements
    as they relate to numerous Defendant's including Melissa Meyers. Defendant Melissa
    Meyers' response to Plaintiffs continued harassment and violation of the PPPO [sic], to
    seek legal enforcement of a valid PPO, in a vacuum and taken from the perspective of a
    disgruntled respondent, could constitute an adverse action However, the more rational
    conclusion is that the same is a reasonable response by the Defendant Melissa Meyers to
    the continued harassment by the Plaintiff. Plaintiffs claim lacks allegations and facts
    which create a logical nexus between the protected conduct alleged and the adverse action
    taken by Defendant Melissa Meyers.




                                                  31
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.519 Page 35 of 41




Ms. Meyers has repeatedly identified the nexus between Plaintiff’s Complaint to Chief Gale and

the adverse actions against Plaintiff. While it is very clear that Ms. Meyers perceives Plaintiff’s

petitioning activity as harassment, this does not justify a reaction which includes the threat of

governmental authority to sanction or suppress offensive speech. If Ms. Meyers believed that

Plaintiff had made false reports to the police (in 2013 and 2015), she could have submitted a

complaint of her own. If Ms. Meyers believed that Plaintiff had made defamatory statements, she

could have filed suit for defamation. 21 However, threatening to have Plaintiff arrested by her

friends in the Norton Shores Police Department is not a lawful or reasonable response.

     c.   The Bolhouse Defendants were also reacting to protected conduct.

     The Bolhouse Defendants also challenge the sufficiency of Plaintiff’s allegations regarding

causation, or the connection between the protected conduct and the adverse actions.
      “The problem with Plaintiff’s claim, however, is that there is no logical nexus that could
      possibly be alleged between the protected conduct alleged and adverse action taken. As
      such, Plaintiff cannot satisfy the third and final element required to state a claim for
      retaliation.” (Bolhouse Brief at PageID.359.)

However, Ms. McLean’s state court filings (August-November 2015) repeatedly make reference

to Plaintiff’s protected activity in support of the petition for criminal contempt proceedings. These

filings emphasize Plaintiff’s protected conduct more than anything else. Like the brief recently

filed in the Court by Ms. Meyers, the Bolhouse Defendant’s repeatedly argued (in the state court)

that Plaintiff’s criticisms of City officials and police officers (as well as his pursuit of an

investigation) should be punished by government sanctions and enjoyed by restraining orders.

Notably, Michigan law calls for criminal contempt proceedings to be first submitted to the county

prosecutor. If the county declines to prosecute, and private party may be appointed to the role of

21None of the Defendants seem to be trying to establish that Plaintiff’s Citizen Complaint (or
complaints in 2013) included any knowingly false claims OR any malicious intent. If there were
any support for that claim, it seems that it would have been presented by now. Plaintiff addresses
the issue of “sham petitioning” in his complaint at ¶75: “…if this was the case the Norton Shores
Police Department should have charged plaintiff with falsely reporting a felony.”

                                                 32
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.520 Page 36 of 41




prosecutor in the criminal contempt proceedings. In this respect, the Bolhouse Defendants are

liable under the public function test (via a separate source of state law), as well as through joint

action with the City Defendants. Plaintiff’s Plaintiff has sufficiently alleged facts suggesting that

the criminal contempt proceedings, the threats of arrest at soccer games, and the improper

modification of the LEIN database, where motivated (at least in part) by Plaintiff’s petitioning

activity. (¶¶66-69, 74, 75, 85, 88). Contrary to the City’s claim, there is no reason to suggest that

“interactions” with Attorneys Baar and McLean on 11/9/15 were in any way related to child

custody proceedings. (¶¶93-100 at PageID.21-22).
      94) Attorneys Baar and McLean repeatedly indicated that plaintiff could avoid
      incarceration by agreeing that he would no longer engage in "conduct" which was
      "concerning" to Melissa Meyers and Mark Meyers—specifically referring to plaintiffs
      7/20/15 complaint and corresponding FOIA requests.
      95) Mr. Baar speciﬁcally stated that they were looking for an agreement that plaintiff
      would not take "any action" against Mark Meyers or Melissa Meyers. Attorney
      Mclean speciﬁcally asked plaintiff if he was willing to "stop going to the city."
      97) Attorneys Mclean and Baar … advised that Police Chief Jon Gale, First Lieutenant
      Chris Mclntire (Michigan State Police), Attorney Doug Hughes and city manager
      Mark Meyers were outside in the hall and prepared to testify that plaintiff had been
      engaging in very concerning behavior.
      98) Attorney McLean speciﬁcally stated that since Judge Pittman had authorized criminal
      contempt "this could turn into an arraignment today."
      90) Attorney Baar made several references to Judge Pittman's reputation for
      unpredictable and hasty rulings (i.e. "who knows what Pittman will do?").
      100) Throughout the meeting, attorneys Baar and Mclean repeatedly attempted to coerce
      plaintiff into dropping any complaints against the city of Norton Shores.
IV.     Shared Objectives – Symbiotic Relationship – Joint Conduct

      The City’s official correspondence, perfectly choreographed with similar statements in the

contempt filings clearly evince a continuity of purpose between the private party Defendants and

the City Defendants. At this stage of the proceedings a Plaintiff is not required to set forth intricate

detail on every claim. “Rarely in a conspiracy case will there be direct evidence of an express

agreement among all the conspirators to conspire, and circumstantial evidence may provide



                                                  33
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.521 Page 37 of 41




adequate proof of conspiracy.” Smith v. Thornburg, 136 F.3d 1070 (6th Cir. 1998) at 1090-1091.

In this case, Plaintiff has already presented substantial direct evidence of shared retaliatory animus,

cooperation, and joint action between the Defendants. The City’s 11/5/15 correspondence cannot

be squeezed into any kind of entirely innocent explanation. The corresponding contempt filings,

filed by the Bolhouse Defendants, repeatedly express the same animus toward Plaintiff’s

petitioning activity.22

     Our circuit (along with many others) has cited with approval Judge Richard Posner’s well-

reasoned opinion in Bart v. Telford, 677 F.2d 622, 625 (7th Cir.1982) (noting that the plaintiff

needed only to show "a suggestion [in the complaint] that the subsequent campaign of petty

harassments was motivated by [the plaintiff's] views" in order to survive a motion to dismiss under

Rule 12(b)(6)). The harassments complained of herein cannot be construed as petty. Judge

Posner’s opinion in Backpage.com, LLC v. Dart, 807 F.3d 229, 230 (7th Cir. 2015) is also

instructive as it pertains to the City’s 11/4/15 letter. In Backpage.com, Sheriff Dart used his official

influence to indirectly orchestrate a chilling effect on speech which he disfavored. His letter (sent

on official government stationary) urged credit card companies not to do business with the

Backpage.com and bolstered these urgings with ominous allusions to the possibility of their own

criminal liability and potential investigations for money laundering. The 7th Circuit deemed these

tactics to be in violation of the First Amendment, noting that:
     …while [Sheriff Dart] has a First Amendment right to express his views about Backpage,
     a public official who tries to shut down an avenue of expression of ideas and opinions
     through ‘actual or threatened imposition of government power or sanction’ is violating
     the First Amendment.



22 Plaintiff’s Complaint also alleged that the contempt filings themselves are replete with
statements confirming a shared retaliatory animus. expressing the shared objectives of silencing
Plaintiff’s complaints against Mark Meyers, the City, Officer Rhyndress, and Officer Wasilewski
(all non-parties to Melissa Meyers Stalking/PPO litigation). Ms. McLean’s filings reference
Plaintiff’s complaints against the City extensively and include numerous lengthy quotations from
Plaintiff’s 7/20/15 Citizen Complaint and the recorded interview in Chief Gale’s office.

                                                  34
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.522 Page 38 of 41



     The First Amendment forbids a public official to attempt to suppress the protected speech
     of private persons by threatening that legal sanctions will at his urging be imposed unless
     there is compliance with his demands. E.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58,
     64-72, 83 S.Ct. 631, 9 L.Ed.2d 584 (1963);

     Id. at 230 (internal quotes and some citations omitted). The United States Supreme Court has

stated that even "informal procedures undertaken by officials and designed to chill expression can

constitute a prior restraint." Multimedia Holdings Corp. v. Circuit Ct. of Fla., St. Johns Cnty., 544

U.S. 1301, 1306, 125 S.Ct. 1624, 161 L.Ed.2d 590 (2005). It does not matter that the criminal

contempt proceedings were initiated by private actors. It does not matter that the extortionate

threats where delivered by private actors (¶¶93-100). It cannot be denied that the City was aware

of the criminal contempt proceedings when this letter was sent. They certainly were aware when

they attended. The Private Parties and the City Defendants shared a symbiotic relationship. All

were willing participants with their own motivations for intimidating Plaintiff. Our circuit has

consistently held that that officers can be held liable for the natural consequences of their actions

even when the ultimate harm of the constitutional violation is more directly inflicted by someone

else. See McKinley v. City of Mansfield, 404 F.3d 418, 438 (6th Cir. 2005).

V.     State Law Claims

     In the present case, the City disfavored the content of Plaintiff’s petitioning activity and

wished to somehow criminalize it. In the absence of other remedies, the PPO proceedings provided

the only available vehicle. In stating the intention to protect Mark Meyers, the City did not threaten

to take “legal action” against Plaintiff. The letter states the City will take “whatever action is

legally necessary to protect Mr. Meyers…” The City could not and did not seek charges against

Plaintiff for making false crime reports, because Plaintiff’s complaints were truthful. For the same

reason, the City could not and did not bring any civil action claiming “serious defamatory and

disparaging remarks about Mr. Meyers, as well as other members of the Norton Shores Police

Department.” It would have been infinitely more appropriate for Attorney Hughes actually file a



                                                 35
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.523 Page 39 of 41




lawsuit against Plaintiff as opposed to the ominous threat of government sponsored sanctions. The

City has not even attempted to offer another interpretation for what was meant by “we will take

whatever action is legally necessary to protect the professional and privacy rights of Mr. Meyers.”

        a. Abuse of Process

Contrary to the City’s argument, joint participation in planning and executing the criminal

contempt proceedings does establish a basis for liability under state law.
     Here the claim of abuse of process against these defendants fails as a matter of law
     because there is not even a whiff of an allegation any of these defendants utilized any
     legal process. The only legal process that is alleged in the Complaint arises out of the
     contested custody case.23 The attorneys and parties to that action utilized legal process –
     but none of these defendants did. That is fatal to plaintiff’s claim and it must be dismissed.

     Paragraphs 93-100 of Plaintiff’s Complaint (PageID.21-22) describe the threats made by

Defendant Joel Baar (“Baar”) and Defendant Michelle McLean (“McLean”) in a meeting just prior

to the 11/9/15 criminal contempt hearing.       Baar & Mclean repeatedly pressed Plaintiff for an

agreement wherein Plaintiff would drop all claims against Norton Shores, Mark Meyers, and

Melissa Meyers. Baar and McLean advised Plaintiff that he was about to experience the equivalent

of a criminal arraignment before a very unpredictable probate judge. They suggested a substantial

possibility of Plaintiff going straight to jail (¶98, ¶99). They clearly conveyed that Chief Gale and

F/Lt. McIntire were coming to testify that Plaintiff had repeatedly submitted false reports of

criminal activity against Mark & Melissa Meyers.

     All of these demands were outside the scope of Stalking/PPO under Michigan Law. Even

after the state court judge clearly established that this was the case (11/9/15 Hearing, Declaration

Exhibit D), the Defendants continued to misuse the state court litigation in this same way. In

actuality, the only thing the Bolhouse Defendants truly had a right to litigate in that case was

23
  Neither the Stalking/PPO litigation initiated by Melissa Meyers, or the criminal contempt
proceedings in 2015 arise out of the contested custody case. The voluminous contempt filings do
not give ANY indication that custody related concerns played a part in this matter at all—and no
Defendant has suggested any way specific reason that would be true.

                                                  36
Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.524 Page 40 of 41




whether or not the original 7/21/13 ex parte PPO had been “extended indefinitely.”                  The

Defendants were most certainly making settlement demands which sought “more than objectives

commonly sought by claimants who initiate similar lawsuits.” The demands for an agreement to

stop “going to the City” where certainly collateral to the purposes of the 2013 ex parte PPO.

Plaintiff’s allegations regarding Attorney Baar and Attorney McLean’s demands (upon threat of

incarceration) go beyond the bounds of abuse of process and well into the realm of extortion under

Michigan statute.

    Plaintiff is not alleging that the City “initiated legal action” against Plaintiff. Instead, the City

lent substantial support to the endeavor. The transcript of the 11/9/15 hearing clearly indicates

that Judge Pittman delayed Plaintiff’s opportunity to be heard because he recognized all of the

well-known governmental leaders who were purportedly there to give relevant testimony. This

sham allowed the Bolhouse Defendants to prolong the duration of the criminal contempt

proceeding while the City Defendants maintained the unlawful LEIN entry against Plaintiff (for

approximately six months total).

    The Michigan Court of Appeals recently established that the judicial proceedings privilege

does not preclude an action for abuse of process when the when defamatory or otherwise actionable

conduct is interposed for the purpose of retaliating against someone for their participation in

litigation. See Lawrence v. Burdi, 886 N.W.2d 758, 314 Mich. App. 203 (Ct. App. 2016).
    Taking as true plaintiff's argument that defendant filed the requests to admit in retaliation
    for plaintiff's public statements about the case, defendant's conduct seems to turn upside
    down the public policy behind the privilege, that is, to permit participants in judicial
    proceedings to be relatively free to express themselves without fear of retaliation.

Id., 758-759. Michigan courts have long held that privilege does not necessarily attach when it

can be established “that statements made in the course of judicial proceedings, including pleadings

and argument, have no relevance, pertinence, or materiality to the matter being litigated.” Id.




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Case 1:18-cv-00124-GJQ-RSK ECF No. 72 filed 10/16/18 PageID.525 Page 41 of 41



       b. Intentional Infliction of Emotional Distress

    If Plaintiff’s allegations are true, the Defendants corruptly and deliberately misused the state

court procedures in a calculated scheme to injure an innocent private citizen. These claims involve

a number of lawyers and law enforcement officers who are untrusted to protect against this type

of corruption. In addition to Plaintiff’s injuries, abuses of this nature tend to prejudice the most

vulnerable litigants who face unwarranted skepticism when they truly need protection from the

courts (recklessness). If proven, these claims do provide a plausible basis for jury to find that the

alleged conduct to be “so outrageous in character, and so extreme in degree, to go beyond all

bounds of decency, and be regarded as atrocious and utterly intolerable in a civilized community.”

Roberts v Auto-Owners, 374 N.W.2d 905, 908-09 (Mich. 1985).

       c. Malicous Prosecution

    Plaintiff will seek leave of the court to address the arguments regarding this claim in a separate

filing. The Bolhouse Defendants and Ms. Meyers have egregiously misrepresented proceedings

in state court, and there is not adequate time (or space) to address those issues herein.



                                          Conclusion:

    Plaintiff has asserted sufficient factual matter to survive a facial challenge. Plaintiff

respectfully asks this Court to deny the “motions to dismiss” (sic), and the City’s motion for

judgment on the pleadings.

Respectfully submitted on 10/16/18

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                                                 38
